
Turney, J.,
delivered the opinion of the court.'
A charge to a jury in the words, “ If the proof shows that before the alleged payment, the Branch Bank at Sparta was removed from Sparta south, without lawful authority so to do, and while the same was there removed, a payment was made in Confederate money, the same would be no payment,” is error.
A party owing a debt may rightfully and lawfully pay it wherever he finds his note or other evidence of indebtedness, he being no party or privy to its unlawful presence in the place or deposit in which he may find it.
*443If a bank see proper to remove its deposits and evidence of debt, whether lawfully or unlawfully, and a debtor redeem his note from or make payment thereon, to its teller, the payment is as perfect and binding as if. no removal had been made.
Reverse the judgment.
